Case 3:16-cr-00729-SCC Document 701 Filed 06/01/21 Page 1 of 6




                       IN THE UNITED STATES COURT
                     FOR THE DISTRICT OF PUERTO RICO




  UNITED STATES OF AMERICA

        Plaintiffs

             v.                        CRIM. NO.: 16-729 (SCC)

  [8] DANILO DE LA CRUZ-POLANCO

        Defendant



                        OPINION AND ORDER

        Pending before the Court is Defendant Danilo De la Cruz-

    Polanco’s (“Defendant De la Cruz-Polanco”) pro se motion for

    compassionate release under 18 U.S.C. § 3582(c)(1)(A). Docket

    No. 651. While the Government has not addressed Defendant

    De la Cruz-Polanco’s motion, the Court finds that it can

    render a determination regarding the same at this time. For

    the reasons set forth below, the Court DENIES WITHOUT

    PREJUDICE Defendant De la Cruz-Polanco’s motion at

    Docket No. 651.
Case 3:16-cr-00729-SCC Document 701 Filed 06/01/21 Page 2 of 6




    U.S.A. v. DE LA CRUZ-POLANCO                                  Page 2




           I.   Analysis

         On March 12, 2019, Defendant De la Cruz-Polanco

    pleaded guilty to one count of conspiracy to import at least

    fifty (50) but less than one hundred and fifty (150) kilograms

    of cocaine into the United States from a place outside thereof,

    in violation of 21 U.S.C. §§ 952(a), 960(a)(1), (b)(1)(B), 963 and

    841(b)(1)(B). Docket Nos. 327, 337. On June 19, 2019, he was

    sentenced to one hundred and twenty (120) months of

    imprisonment. Docket Nos. 437, 438. His projected release

    date is June 17, 2025. See Find an Inmate, FED. BUREAU PRISONS,

    https://www.bop.gov/inmateloc/ (last accessed Jun. 1, 2021).

         Defendant De la Cruz-Polanco filed a motion requesting

    compassionate release from custody due to the ongoing

    COVID-19 pandemic. Docket No. 651. Specifically, in his

    motion, he alleges that his status as an HIV patient places him

    at a higher risk of severe illness or death if he were to contract

    COVID-19. See id. at 4. He also contends that it is impossible

    to   practice    social    distancing   at   Moshannon     Valley

    Correctional Center (“MVCC”), thus implying that it is only a
Case 3:16-cr-00729-SCC Document 701 Filed 06/01/21 Page 3 of 6




    U.S.A. v. DE LA CRUZ-POLANCO                              Page 3




    matter of time before he contracts COVID-19. See id. at 5.

    According to Defendant De la Cruz-Polanco, his status as an

    HIV patient coupled with the purported mishandling of the

    COVID-19 pandemic at MVCC amount to extraordinary and

    compelling circumstances which warrant his release from

    custody. See id. at 6.

        This Court may entertain a motion for compassionate

    release under § 3582(c)(1)(A) “upon motion of the Director of

    the Bureau of Prisons, or upon motion of the defendant after

    the defendant has fully exhausted all administrative rights to

    appeal a failure of the Bureau of Prisons to bring a motion on

    the defendant’s behalf” or, after thirty (30) days have passed

    “from the receipt of such a request by the warden of the

    defendant’s facility, whichever is earlier[.]” 18 U.S.C. §

    3582(c)(1)(A).

        In his motion, Defendant De la Cruz-Polanco asserts that

    he sought administrative relief within MVCC and the Federal

    Bureau of Prisons (“BOP”). Docket No. 651 at 2. According to
Case 3:16-cr-00729-SCC Document 701 Filed 06/01/21 Page 4 of 6




    U.S.A. v. DE LA CRUZ-POLANCO                                           Page 4




    Defendant De la Cruz-Polanco, MVCC denied 1 his request,

    and he never received an answer from the BOP. 2 Id. Despite

    Defendant De la Cruz-Polanco’s assertions, he failed to attach

    copies of the purported administrative remedies that he

    sought to the instant motion. As such, the Court is unable to

    corroborate whether he, in fact, satisfied the administrative

    requirement outlined in § 3582(c)(1)(A). However, even if the

    Court were to find that he satisfied the administrative

    exhaustion requirement, as he claims that he was precluded


    1According to Defendant De la Cruz-Polanco, MVCC denied his request
    for compassionate release because of his immigration status. Docket No.
    651 at 2.

    2It is worth mentioning that, in his motion, Defendant De la Cruz-Polanco
    states that MVCC allegedly denied his request to, inter alia, be placed in
    home confinement in order to serve the remainder of his sentence because
    of his immigration status. See Docket No. 651 at 2. While the motion before
    this Court does not include a request for home confinement, the Court
    notes that, even if Defendant De la Cruz-Polanco would have included
    said request, the Court may only recommend that an offender be placed
    in home confinement, for the Bureau of Prisons (“BOP”) is the entity
    responsible for determining where an offender is placed. Tapia v. United
    States, 564 U.S. 319, 331 (2011) (stating that “[a] sentencing court can
    recommend that the BOP place an offender in a particular facility or
    program . . . . [b]ut decision making authority rests with the BOP.”).
Case 3:16-cr-00729-SCC Document 701 Filed 06/01/21 Page 5 of 6




    U.S.A. v. DE LA CRUZ-POLANCO                                  Page 5




    from attaching copies because he could not make copies of the

    same due to the restrictions placed in light of the COVID-19

    pandemic and because the original documents were sent to

    the BOP, see id. at n.1, his motion still fails on the merits, for

    the same does not point to extraordinary and compelling

    reasons that would warrant relief under § 3582(c)(1)(A)(i).

        For starters, Defendant De la Cruz-Polanco is no longer at

    MVCC. According to the BOP website, he is currently serving

    his sentence at FCI Hazelton in West Virginia. See Find an

    Inmate,              FED.               BUREAU          PRISONS,

    https://www.bop.gov/inmateloc/ (last accessed Jun. 1, 2021).

    And a look at the COVID-19 infection rates at FCI Hazelton

    reveals that, on June 1, 2021, there were zero (0) confirmed

    cases of inmates with the virus and only one (1) staff member

    who had tested positive for the virus. See COVID-19 Cases,

    FED.                           BUREAU                    PRISON,

    https://www.bop.gov/coronavirus/index.jsp (last updated

    May 28, 2021). As such, it appears that the spread of COVID-

    19 at FCI Hazelton is currently under control.
Case 3:16-cr-00729-SCC Document 701 Filed 06/01/21 Page 6 of 6




    U.S.A. v. DE LA CRUZ-POLANCO                                Page 6




        As for his status as an HIV patient, Defendant De la Cruz-

    Polanco did not include a copy of any medical records that

    would shed light on the status of his condition with the

    instant motion. Most fundamentally, at no point in his motion

    did he allege that he was not receiving treatment for his

    medical condition or that his condition has worsened due to

    the lack of proper care.

          II.   Conclusion

        In light of the above, Defendant De la Cruz-Polanco’s

    motion at Docket No. 651 is DENIED WITHOUT

    PREJUDICE.

        IT IS SO ORDERED.

        In San Juan, Puerto Rico, this 1st day of June, 2021.

            S/ SILVIA CARREÑO-COLL
            UNITED STATES DISTRICT COURT JUDGE
